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Jonathan L. Howell - Section Head of
Bankruptey, Restructuring, & Creditors’ Rights
Direct Dial: (214) 273-6409

Facsimile: (214) 723-5966

lowell mecathernlaw.com

October 23, 2014

Via Federal Express (Overnight Delivery):

Energy Future Holdings Corp. Claims Processing Center
c/o Epiq Bankruptcy Solutions, LLC

757 Third Avenue, 3rd Floor

New York, NY 10017

Re: — Red Ball Oxygen Company's Proof of Claim for Luminant Big Brown
Mining Company LLC, Case No. 14-1 1018 (CSS)

To Whom It May Concern:

Enclosed you will find one original and one copy of Red Ball Oxygen Company’s
proof of claim to be filed in the above-referenced bankruptcy case pending in the U.S.
Bankruptcy Court for the District of Delaware. The proof of claim is for a total amount of
$17,825.68, of which $724.11 is for § 503(b)(9) administrative expenses. Please file the
original proof of claim in the official claims registry and file stamp and return the copy to:

Jonathan L. Howell
McecCathern PLLC
Regency Plaza
3710 Rawlins Street, Suite 1600
Dallas, Texas 75219

For your convenience, | have also enclosed an envelope addressed to the address stated
above,

If there are any complications or questions you need answered, please feel free to

contact me directly.

Yours truly,

Jonathan L. Howell

3710 Rawlins St. Ste. }600] Dallas, Texas 75219 | Phone: 214.273.6409 | Fax: 214.723.5966 | mccathernlaw.com

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extraordinary value is $1,000, e.g. jewelry, precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims
must be filed within strict time lirits, see current FedEx Service Guide.

Case 14-10979-CSS Doc 4637-4 Filed 06/01/15_Page 50 of 51

UNITED STATES BASKREP ION COURT FR DEE District OF DELAWARE

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Red Ball Oxygen Company Sincrade a provancnly filed claim.
c/o MeCathern PLLC Court Claims Number: : FILED | RECEIVED
Attn: Jonathan L Howell
3710 Rawlins Street, Suite 1600

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Dallas, Texas 75219 Filed on.
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(214) 273-6409 jhowell@mecathernlaw.com copy Hf Statement gn jeg nartienlaes,

nen shoul be seat af dificront fram show: OTE USE ONLY 5. Amount of Claim Entitled te Priority
ander LE USC. § 507 (a), lfany part of the
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i. Amount of Clabm as of Date Case Filed: § 261,125.18 ce case was filed or the debtor's husinuss cessed.
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4. are ured Claim See nein oe ay Amount of arrearage and other charges, as of time
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7, Creates: Phe amount of al payments on this claim has been credited for the purpree ef making this preot of clanm,. (hee matniction #7)

& Documents: Auach redacted copies of any documents thut support the claim, such as prosissory notes, purchase orders, mvoices, itemized statcoents of nmuing

' avenunts, camiracts, padpinents, mortgages awl secunty agreements. tthe clanw is secured, box 4 hae been completed, and redacted copies of documents providing evrlence of
perfection of a security interest are attached. (See vsserue inn 88 wad definition af “redacted” 3

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